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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


  ARBOR GLOBAL STRATEGIES LLC,               Case No. 2:19-cv-00333-JRG-RSP

                    Plaintiff,
        v.

  SAMSUNG ELECTRONICS CO., LTD.;
  SAMSUNG ELECTRONICS AMERICA,
  INC.; and SAMSUNG SEMICONDUCTOR,
  INC.,

                    Defendants.




    ARBOR GLOBAL STRATEGIES LLC’S SUR-REPLY IN OPPOSITION TO SAMSUNG
          DEFENDANTS’ MOTION TO DISMISS FOR LACK OF STANDING
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            Plaintiff respectfully submits this sur-reply in further opposition to Defendants’ motion to

  dismiss the Complaint for lack of standing (Dkt. 22).1

  I.        INTRODUCTION

            Far from advancing their arguments, Defendants’ reply underscores that the instant

  motion is entirely without merit. To contrive their arguments, Defendants ignore the legal

  distinctions between a patent assignment and patent collateral assignment, and further ignore the

  plain terms of the Settlement Agreement and PCA expressly conveying rights in the Asserted

  Patents to Mark and Mary Ann solely “to secure satisfaction” of the Judgments.

            In sum, it is axiomatic that any and all interest Mark and Mary Ann had in the Asserted

  Patents was extinguished by operation of law when the Judgments were fully paid—well in

  advance of the filing of the Complaint in this action. Thus, Plaintiff has standing and

  Defendants’ motion to dismiss should be denied in its entirety.

  II.       ARGUMENT

            A.     Satisfaction of the Judgments Automatically Extinguished Any and All
                   Rights Conveyed by the Patent Collateral Assignment by Operation of Law

            Defendants concede (Dkt. 27 at 1) that security interests are extinguished by operation of

  law when the underlying debt is repaid. Defendants also concede (id. at 7) that the Judgments

  were satisfied and Arbor Company’s debts to Mark and Mary Ann are extinguished.

  Accordingly, there can be no credible dispute that any and all interest Mark and Mary Ann had in

  the Asserted Patents was extinguished by operation of law. See Opp. Br. 5-6.

            Defendants suggest that patents are different from other collateral because the term

  “assignment” in patent law transfers of title. Dkt. 27 (“Def. Reply Br.”) at 8. Setting aside the



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            Terms defined in Plaintiff’s opposition brief (Dkt. 26) (“Opp. Br.”) have the same meaning
  herein.


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  fact that Defendants’ argument ignores the terms of the PCA (infra pp. 3-4), this is a distinction

  without a difference. As demonstrated in Plaintiff’s opposition brief—and as Defendants do not

  dispute—even where full title is transferred as collateral, satisfaction of the underlying debt

  revests title in the debtor by operation of law. Opp. Br. 5-6 (and cases cited therein). See also

  Fed. Deposit Ins. Corp. v. Bracero & Rivera, Inc., 895 F.2d 824, 827 (1st Cir. 1990) (“The

  mortgage which guaranteed the debt was a subsidiary or accessory obligation to the underlying

  debt. Consequently, the mortgage itself was also extinguished when the principal debt was

  paid.”); State Bank & Tr. Co. of Golden Meadow v. Boat D.J. Griffin, 755 F.Supp. 1389, 1398

  (E.D. La. 1991) (“when the mortgage is for a specific debt, payment extinguishes debt and

  mortgage”). The one case Defendants cite on this point is not to the contrary. In IP Innovation

  L.L.C. v. Google, Inc., the court discussed the difference between an assignment and a mere

  license, but did not address the difference between an absolute assignment and an collateral

  assignment, nor did it hold that title to patents cannot revest by operation of law. 661 F.Supp.2d

  659, 663 (E.D. Tex. 2009).

         Defendants attempt to distinguish Akazawa v. Link New Tech. Int’l, Inc. as limited to the

  intestacy context, but do not seriously dispute that “ownership of a patent may be changed by

  operation of law.” 520 F.3d 1354, 1356 (Fed. Cir. 2008). See Def. Reply Br. 8-9. Courts have

  consistently cited Akazawa for precisely this proposition. See, e.g., Sky Techs. LLC v. SAP AG,

  No. 2:06-CV-440 (DF), 2008 WL 5234644, at *11 (E.D. Tex. June 4, 2008) (in patent

  foreclosure context, citing Akazawa and holding that “a writing is not required to transfer title,

  rather, title may pass by operation of law”). And in fact, the cases Defendants themselves cite

  consistently hold that a separate writing is not uniformly required to change ownership of a




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  patent. See, e.g., Jim Arnold Corp. v. Hydrotech Sys., Inc., 109 F.3d 1567, 1577 (Fed. Cir. 1997)

  (an assignment “may be declared null and void by operation of law”).

         Defendants’ attempt to distinguish Kanematsu Corp. v. Advanced Materials Lanxide,

  LLC, fares no better. No. Civ. A. 01-190-JJF, 2002 WL 32332375, at *6 (D. Del. Sept. 30,

  2002). Defendants argue that in Kanematsu, the plain language of the agreement “made it clear

  that the agreement granted merely a security interest . . . .” Def. Reply Br. 9. But that is

  precisely what the PCA did here. The PCA expressly grants patent rights solely “[t]o secure

  satisfaction of [the Judgments]” (Dkt. 22-9, Ex. 8 at Frame: 0205, PCA § 1)—a fact that

  Defendants notably ignore.

         B.      The Patent Collateral Assignment Conveyed a Mere Collateral Security
                 Interest in the Asserted Patents

         In maintaining that the PCA is equivalent to a regular patent assignment conveying “full

  title,” Defendants accuse Plaintiff of ignoring “the actual language of the contracts.” Def. Reply

  Br. 1. In fact, the converse is true. Defendants urge the Court to ignore the substance of the

  Settlement Agreement and the PCA by characterizing their controlling language as mere

  “labels.” See id. at 5-6, 10 n.6.

         The plain language of the Settlement Agreement and the PCA—which Defendants

  ignore—make clear that the patent rights were conveyed as security interests. Tellingly,

  Defendants’ brief is completely silent on the fact that by its terms the PCA granted patent rights

  solely “[t]o secure satisfaction of [the Judgments].” Dkt. 22-9, Ex. 8 at Frame: 0205, PCA § 1.

  Defendants likewise ignore the fact that the Settlement Agreement repeatedly states that the PCA

  is a security interest. See Opp. Br. 2-3; Dkt. 22-3, Ex. 2 at §§ VIII (listing the “Patent Collateral

  Assignment” as one of several “Security Interests”), id. at IX(E) (“Security Agreements. The

  parties hereto shall have executed all of the agreements and filed any documents required to



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  perfect the security interests set forth in Article VIII of this Agreement”), id. at X(D) (“Mary

  Ann . . . shall file all documents necessary and appropriate to terminate security interests and

  deeds of trust in her favor which were granted pursuant to this Agreement.”).2

         These are not mere “labels” as Defendants conclusorily assert. They are the operative

  and controlling terms of the agreements and show that the PCA conveys only a collateral

  security interest, notwithstanding the purportedly “absolute terms” of the assignment reiterated

  by Defendants. Def. Reply Br. 2. Indeed, Plaintiff has no answer to Defendants’ cases finding

  that assignments given as collateral security are commensurate with the debt secured

  notwithstanding contractual language phrasing assignment “in absolute terms.” Opp. Br. 7 (and

  cases cited therein).

         Defendants do not dispute that a UCC-1 financing statement is not necessary if a party

  holds full ownership of a patent. Id. 8. Instead, Defendants urge the Court to ignore the UCC-1

  financing statements filed by Mary Ann and Mark Guzy to perfect their security interests in the

  Asserted Patents and other of Arbor Company’s property, claiming that these financing

  statements refer only to security interests in “certain consumer goods, personal property,

  artwork, antiques and jewelry,” and do not include the Asserted Patents. Def. Reply Br. 7 (citing

  Dkt. 26-2, Ex. 2). But this is simply incorrect. The term “personal property” straightforwardly

  encompasses the Asserted Patents. See, e.g., Commonwealth Sci. & Indus. Research

  Organisation v. Lenovo (United States), Inc., No. 6:09CV399, 2011 WL 13221068, at *2 (E.D.

  Tex. Oct. 31, 2011) (“A patent is an item of personal property and is freely transferable.”); see




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         Defendants also fail to address Mark’s Release, which identified his interest in the Asserted
  Patents as solely a “security interest and/or lien.” Dkt. 26-4, Ex. 3 (Emergency Motion at Ex.
  8).


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  also 35 U.S.C. § 261 (“Subject to the provisions of this title, patents shall have the attributes of

  personal property.”).

         C.      The Plain Terms of the PCA Do Not Require Execution of Additional
                 Instruments to “Revest” Title

         Defendants ignore the fact that full payment of the Judgments extinguished any and all

  rights conveyed by the PCA as a matter of law, and wrongly insist that the terms of the PCA

  required “other instruments” to revest title of the Asserted Patents in Arbor Company.

         Defendants argue that the PCA and Settlement Agreement required Mark and Mary Ann

  to file a Satisfaction of Judgment and a Release. But Defendants do not dispute that Mark

  executed these documents, and “formally release[d] and discharge[d] any and all security interest

  and/or lien granted in [his] favor . . . in connection with [the Asserted Patents].” Dkt. 22-14, Ex.

  13 at 1; Dkt. 26-4, Ex. 3 (Emergency Motion at Ex. 8). Remarkably, Defendants assert that a

  court Order granting a motion to extinguish Mary Ann’s liens against “patents owned by Arbor

  Company” (Opp. Br. 4) is somehow insufficient to effectuate a release of her liens on those

  patents. Def. Reply Br. 8. Defendants’ suggestion that a court order lacks the force and effect of

  a legal release is not well-taken.3

         Defendants further claim that there is “precise, contractually-mandated paperwork needed

  to ‘revest’ (i.e., assign) the patents back to Arbor Company.” Def. Reply Br. 3. But this is a

  fiction. The PCA states only that “Assignee shall execute and deliver to Assignor all deeds,

  assignments and other instruments as may be necessary or proper to re-vest in Assignor full title



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          Jim Arnold Corp. v. Hydrotech Sys., Inc., which concerned a patent assignment and not a
  patent collateral assignment, does not support Defendants’ arguments. 109 F.3d 1567 (Fed. Cir.
  1997). In that case, the court rejected plaintiff’s argument that breach of assignment agreements
  automatically rendered the assignments null and void, but recognized that an assignment “may be
  declared null and void by operation of law—either through a forfeiture provision . . . or under a
  provision of applicable state law . . . .” Id. at 1577.

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  to the Patents . . . .” Dkt. 22-9, Ex. 8 at Frame: 0206, PCA § 8 (emphasis added). Defendants’

  contend that the word “shall” in this section creates an immutable future obligation to execute

  and deliver specific instruments, but ignore that the words “as may be necessary” renders this

  obligation merely conditional. Defendants’ reading simply cannot be squared with the canon of

  contractual interpretation that use of the term “may” is permissive. Baisden v. I’m Ready Prods.,

  Inc., 693 F.3d 491, 502 (5th Cir. 2012). Thus read in its entirety, this provision does not state

  that any particular instruments are in fact necessary, but only that if such instruments are

  necessary, then Assignee must execute and deliver them. See Gerber Sci. Int’l, Inc. v. Satisloh

  AG, No. 3:07CV1382 (PCD), 2009 WL 2869705, at *5 (D. Conn. Sept. 2, 2009) (the “use of

  ‘may’ implies that deeds or assignments might not be necessary to re-transfer the patents and the

  clause merely records the party financially responsible should documentation be needed.

  Therefore, this lack of documentation does not prove that [assignee] maintains ownership of the

  [patent].”).4 Here, such separate instruments were unnecessary for the reasons set forth above

  and in Plaintiff’s opposition brief.

         Indeed, Defendants’ attempt to characterize the PCA as a mere “agreement to assign”

  requiring a further conveyance (Def. Reply Br. 3-4) is based on the incorrect premise that the

  PCA is legally identical to a patent assignment and ignores the express terms of the PCA

  conveying rights solely “to secure satisfaction” of the Judgments. Dkt. 22-9, Ex. 8 at Frame:

  205, PCA § 1.




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         Notably, in attempting to distinguish Gerber (Def. Reply Br. at 10 n.7), Defendants do not
  dispute the Gerber court’s reading of the term “may.” Instead, Defendants point out that the
  agreement at issue in Gerber had an additional term not present in the PCA, which says nothing
  about this issue. Defendants also misleadingly observe that Gerber was not reviewed by the
  Federal Circuit, but fail to state that the issues on review were unrelated to the court’s reading of
  “may.”

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         D.      Defendants Wrongly Argue the Complaint should be Dismissed With
                 Prejudice

         Defendants argue for the first time in reply (in a footnote (at 2-3 n.1)) that its motion

  should be granted with prejudice. “This court is not obligated to consider a new ground

  for relief raised in defendant’s reply.” Venetian Blind & Floor Covering, Ltd. v. Wells Fargo

  Bank, N.A., No. H-08-2451, 2010 WL 55978, at *1 (S.D. Tex. Jan. 4, 2010) (citing Gillaspy v.

  Dallas Indep. School Dist., 278 F.Appx. 307, *7 (5th Cir. 2008); Peteet v. Dow Chem. Co., 868

  F.2d 1428, 1437 (5th Cir. 1989)); see also Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,

  No. 2:14-CV-911-JRG-RSP, 2015 WL 5786501, at *5 (E.D. Tex. Sept. 30, 2015) (“The Court

  does not consider arguments raised for the first time in a reply brief.”). Moreover, if the Court is

  inclined to grant Defendants’ motion—it certainly should not—any dismissal for lack of standing

  should be without prejudice. “[T]he law universally disfavors dismissing an action with

  prejudice based on lack of standing, and there is a strong presumption that such a dismissal is

  improper.” Univ. of Pittsburgh v. Varian Med. Sys., Inc., 569 F.3d 1328, 1332-33 (Fed. Cir.

  2009) And this case bears no resemblance to the exceptional circumstances at issue in

  Defendants’ cases where dismissal with prejudice may be justified, e.g., because plaintiff had

  engaged in “a pattern of highly questionable conduct,” “made numerous conflicting

  representations,” and failed to explain “‘blatant inconsistencies’ in its previous positions on

  standing” in other related cases. Nat’l Oilwell Varco, L.P. v. Omron Oilfield & Marine, Inc., 676

  Fed.Appx. 967, 971-72 (Fed. Cir. 2017) (recognizing that “[o]rdinarily, dismissal for lack of

  standing is without prejudice”).




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  III.   CONCLUSION

         At least for the reasons set forth herein and in Plaintiff’s opposition brief, Defendants’

  motion to dismiss should be denied because Arbor Global has constitutional and statutory

  standing.

                                                 Respectfully submitted,

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